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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 UNITED STATES OF AMERICA,     §
                               §
      Plaintiff,               §
                               §
 v.                            § CRIMINAL NO. SA-25-CR-00200-FB
                               §
 JOB ELIEZER DE LA TORRE,      §
                               §
      Defendant.               §
        MOTION TO AMEND PRELIMINARY ORDER OF FORFEITURE

       Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas and the undersigned Assistant United States Attorney, and

respectfully moves this Court to amend its Preliminary Order of Forfeiture (Doc. 21). The United

States would respectfully show this Honorable Court the following:

       On May 23, 2025, a Motion for Preliminary Order of Forfeiture (Doc.20) was filed, which

included a proposed Preliminary Order. The Motion and Notice filed under document 20 was

correct; however, the proposed Preliminary Order did not properly list all assets. The Preliminary

Order should be amended to include the following property, namely:

   1. Glock GMBH 48 Pistol CAL: 9 SN: BLGX009;
   2. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
   3. Palmetto State Armory Tyranny-15 Pistol CAL: Unknown SN: TJEFFERSON1635;
   4. Aero Precision Texas Pistol CAL: Unknown SN: TX5857;
   5. Larue Tactical LT-15 Pistol CAL: Unknown SN: TX5857;
   6. Anderson Manufacturing AM-15 Pistol CAL: Unknown SN: 23022550;
   7. Palmetto State Armory Maga-15 Pistol CAL: Unknown SN: BIGLY01795;
   8. Runner Runner Guns R-15F Rifle CAL: Unknown SN: TX0129;
   9. TS Arms TS-15 Rifle CAL: 556 SN: SP3-0085;
   10. MKE-Makina VE Kimya Endustrisi Kurumu (Kirikkale) AP5 Pistol CAL: 9 SN: T0624-
       20CF00911;
   11. Runner Runner Guns R-15F Rifle CAL: Unknown SN: TX0128;
   12. Israel Weapon IND- IWI (Israel Military IND- IMI) Galil Ace SAR Pistol CAL: 762 SN:
       G2003796;
   13. STI (Strayer Tripp Intl, STI Intl, Staccato) 2011 Pistol CAL: 9 SN: P2110702;
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   14. STI (Strayer Tripp Intl, STI Intl, Staccato) 2011 Pistol CAL: 9 SN: P2127808;
   15. Arex Rex Zero 1T Pistol CAL: 9 SN: A22913;
   16. CZ (Ceska Zbrojovka) CZ75 SP-01 Pistol CAL: 9 SN: A989005;
   17. Sig-Sauer P226 Elite Pistol CAL: 9 SN: 47E019389;
   18. Israel Weapon IND- IWI (Israel Military IND- IMI) Jericho 941 Pistol CAL: 9 SN:
       J1006912;
   19. STI (Strayer Tripp Intl, STI Intl, Staccato) 2011 Pistol CAL: 9 SN: XC224193;
   20. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
   21. CZ (Ceska Zbrojovka) CZ75 SP-01 Pistol CAL: 9 SN: D113581;
   22. Sig-Sauer P226 Elite Pistol CAL: 9 SN: UU650031;
   23. Springfield Armory, Geneseo, IL Prodigy Pistol CAL: 9 SN: NMH26408;
   24. STI (Strayer Tripp Intl, STI Intl, Staccato) 2011 Pistol CAL: 45 SN: TG20459;
   25. STI (Strayer Tripp Intl, STI Intl, Staccato) 2011 Pistol CAL: 9 SN: TX02407;
   26. Glock GMBH 43X Pistol CAL: 9 SN: BNUW928;
   27. Sig-Sauer P226 Pistol CAL: 9 SN: 47A081665;
   28. Sig-Sauer P226 Elite Pistol CAL: 9 SN: U696381;
   29. CZ (Ceska Zbrojovka) CZ452 ZKM Scout Rifle CAL: 22 SN: B046080;
   30. Aero Precision X15 Pistol CAL: Unknown SN: X400451;
   31. Palmetto State Armory HBR-15 Pistol CAL: Unknown SN: 8700492;
   32. Palmetto State Armory ISRAEL-15 Pistol CAL: Unknown SN: 194800084;
   33. TS Arms SP3 Receiver/Frame CAL:556 SN: SP3-0084;
   34. Double Star Corp. Star 15 Receiver/Frame CAL: 556 SN: D0004666;
   35. Palmetto State Armory CONFIRMED-15 Pistol CAL: Unknown SN: SCOTUS0645;
   36. Palmetto State Armory SPACERIDER-15 Pistol CAL:Unknown SN:HANGON04298;
   37. Palmetto State Armory SNEK-15 RECEIVER/FRAME CAL:Multi SN:YC9-00390;
   38. Palmetto State Armory Baby PFG-15 Pistol CAL:Unknown SN:POOPY00432;
   39. Palmetto State Armory Baby PFG-15 Pistol CAL:Unknown SN:POOPY00291;
   40. Palmetto State Armory MAGA-15 Pistol CAL:Unknown SN:BIGLY01794;
   41. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
   42. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
   43. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
   44. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
   45. $26,000, more or less, in United States currency; and
   46. Any and all firearms, ammunition, and/or accessories involved in or used in the
       commission of the criminal offenses,
   hereinafter referred to as the Subject Property.

       Therefore, the United States of America files the instant motion and requests that the Court

amend the Preliminary Order of Forfeiture (Doc. 21) to include the Subject Property that were

inadvertently left off the Preliminary Order.

       WHEREFORE, PREMISES CONSIDERED, the United States of America moves this


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Honorable Court to amend its Preliminary Order of Forfeiture as to Subject Property to include

the additional assets that were not listed in the proposed Preliminary Order of Forfeiture.

                                                       Respectfully submitted,

                                                       JUSTIN R. SIMMONS
                                                       UNITED STATES ATTORNEY

                                              By:              /s/
                                                       RAY A. GATTINELLA
                                                       Assistant United States Attorney
                                                       Asset Forfeiture Section
                                                       Texas Bar No. 00798202
                                                       601 N.W. Loop 410, Suite 600
                                                       San Antonio, Texas 78216
                                                       Tel: (210) 384-7040
                                                       Fax: (210) 384-7045
                                                       Email: Ray.Gattinella@usdoj.gov

                                                       Attorney for the United States of America


                                CERTIFICATE OF SERVICE

        I hereby certify that on June 11, 2025, a true and correct copy of the foregoing instrument
was electronically filed with the Clerk of the Court using the CM/ECF System which will transmit
notification of such filing to counsel of record.


                                                               /s/
                                                    Ray A. Gattinella
                                                    Assistant United States Attorney




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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 UNITED STATES OF AMERICA,                      §
                                                §
          Plaintiff,                            §
                                                §
 v.                                             § CRIMINAL NO. SA-25-CR-00200-FB
                                                §
 JOB ELIEZER DE LA TORRE,                       §
                                                §
          Defendant.                            §

             ORDER AMENDING PRELIMINARY ORDER OF FORFEITURE

         Came on to be considered the United States of America’s Motion to Amend Preliminary

Order of Forfeiture, and this Court being fully and wholly apprised in all its premises, finds that

the United States’ motion is meritorious and should be, and hereby is, in all things GRANTED.

         IT IS THEREFORE ORDERED that the Preliminary Order of Forfeiture (Doc. 21) be

amended to include the following property, namely:

      1. 1. Glock GMBH 48 Pistol CAL: 9 SN: BLGX009;
      2. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
      3. Palmetto State Armory Tyranny-15 Pistol CAL: Unknown SN: TJEFFERSON1635;
      4. Aero Precision Texas Pistol CAL: Unknown SN: TX5857;
      5. Larue Tactical LT-15 Pistol CAL: Unknown SN: TX5857;
      6. Anderson Manufacturing AM-15 Pistol CAL: Unknown SN: 23022550;
      7. Palmetto State Armory Maga-15 Pistol CAL: Unknown SN: BIGLY01795;
      8. Runner Runner Guns R-15F Rifle CAL: Unknown SN: TX0129;
      9. TS Arms TS-15 Rifle CAL: 556 SN: SP3-0085;
      10. MKE-Makina VE Kimya Endustrisi Kurumu (Kirikkale) AP5 Pistol CAL: 9 SN: T0624-
          20CF00911;
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          G2003796;
      13. STI (Strayer Tripp Intl, STI Intl, Staccato) 2011 Pistol CAL: 9 SN: P2110702;
      14. STI (Strayer Tripp Intl, STI Intl, Staccato) 2011 Pistol CAL: 9 SN: P2127808;
      15. Arex Rex Zero 1T Pistol CAL: 9 SN: A22913;
      16. CZ (Ceska Zbrojovka) CZ75 SP-01 Pistol CAL: 9 SN: A989005;
      17. Sig-Sauer P226 Elite Pistol CAL: 9 SN: 47E019389;
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   18. Israel Weapon IND- IWI (Israel Military IND- IMI) Jericho 941 Pistol CAL: 9 SN:
       J1006912;
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   21. CZ (Ceska Zbrojovka) CZ75 SP-01 Pistol CAL: 9 SN: D113581;
   22. Sig-Sauer P226 Elite Pistol CAL: 9 SN: UU650031;
   23. Springfield Armory, Geneseo, IL Prodigy Pistol CAL: 9 SN: NMH26408;
   24. STI (Strayer Tripp Intl, STI Intl, Staccato) 2011 Pistol CAL: 45 SN: TG20459;
   25. STI (Strayer Tripp Intl, STI Intl, Staccato) 2011 Pistol CAL: 9 SN: TX02407;
   26. Glock GMBH 43X Pistol CAL: 9 SN: BNUW928;
   27. Sig-Sauer P226 Pistol CAL: 9 SN: 47A081665;
   28. Sig-Sauer P226 Elite Pistol CAL: 9 SN: U696381;
   29. CZ (Ceska Zbrojovka) CZ452 ZKM Scout Rifle CAL: 22 SN: B046080;
   30. Aero Precision X15 Pistol CAL: Unknown SN: X400451;
   31. Palmetto State Armory HBR-15 Pistol CAL: Unknown SN: 8700492;
   32. Palmetto State Armory ISRAEL-15 Pistol CAL: Unknown SN: 194800084;
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   35. Palmetto State Armory CONFIRMED-15 Pistol CAL: Unknown SN: SCOTUS0645;
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   38. Palmetto State Armory Baby PFG-15 Pistol CAL:Unknown SN:POOPY00432;
   39. Palmetto State Armory Baby PFG-15 Pistol CAL:Unknown SN:POOPY00291;
   40. Palmetto State Armory MAGA-15 Pistol CAL:Unknown SN:BIGLY01794;
   41. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
   42. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
   43. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
   44. Privately Made Firearm (PMF) Unknown Receiver/Frame CAL: Unknown SN: None;
   45. $26,000, more or less, in United States currency; and
   46. Any and all firearms, ammunition, and/or accessories involved in or used in the
       commission of the criminal offenses,
hereinafter referred to as Subject Property.

       IT IS FURTHER ORDERED that this Order including the Subject Property is hereby

incorporated into the Preliminary Order of Forfeiture (Doc. 21).




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       IT IS FURTHER ORDERED that the Preliminary Order of Forfeiture (Doc. 21) entered

on May 23, 2025, in all other respects, remains in full force and effect.

       IT IS SO ORDERED.

       SIGNED this              day of                               , 2025.



                                              FRED BIERY
                                              UNITED STATES DISTRICT JUDGE




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